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Ryan
Pinkston
Partner
Bankruptcy & Restructuring
rpinkston@seyfarth.com


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+1 (415) 544-1013




Ryan has successfully represented clients in complex, high-
stakes disputes across the country in litigation, appellate
proceedings, arbitrations, and mediations.




More About Ryan
Ryan is an experienced, pragmatic litigation partner. He handles disputes involving a
variety of subject matters, including bankruptcy litigation, corporate reorganizations and
liquidations, receiverships, director and officer liability, complex fraud and business torts,
commercial litigation, class action defense, and health care and pension plan fraud.
Ryan's clients include financial institutions and investors, chapter 7 and chapter 11
bankruptcy trustees, indenture trustees, boards of directors, government contractors,
manufacturers, insurance companies, ERISA benefits plans, and a variety of other public
and private business entities, from startups to multinational corporations.




Education
Case 18-09130     Doc 907-1  Filed 11/24/20 Entered 11/24/20 11:11:41   Desc Exhibit
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    JD, Indiana University Maurer School of Law
    Magna cum laude
    Federal Communications Law Journal, articles editor
    Order of the Coif
    Dean's List (2005-2008)

    BA, Washington University in St. Louis



Admissions

    California

    Illinois



Courts

    US Court of Appeals, Second Circuit

    US Court of Appeals, Seventh Circuit

    US District Court, Central District of California

    US District Court, Eastern District of California

    US District Court, Northern District of California

    US District Court, Central District of Illinois

    US District Court, Northern District of Illinois

    US District Court, Southern District of Illinois

    US Bankruptcy Court, Central District of California

    US Bankruptcy Court, Eastern District of California

    US Bankruptcy Court, Northern District of California

    US Bankruptcy Court, Central District of Illinois
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    US Bankruptcy Court, Northern District of Illinois

    US Bankruptcy Court, Southern District of Illinois




Related Services
Bankruptcy & Restructuring

Commercial Litigation

ERISA & Employee Benefits Litigation

Class & Collective Actions




Related Key Industries
Health Care, Life Sciences & Pharmaceuticals

Consumer Financial Services Litigation




Related News & Insights

SPONSORED EVENTS        Jan 13, 2020

Seyfarth to Sponsor CRE Finance Council 2020 January Conference


LEGAL UPDATE    Nov 14, 2019

Are You Stuck in Bankruptcy Court if Stay Relief is Denied?


BLOG POST   May 8, 2019

“U Can’t Touch This”: When A Garnished Employee Goes Bankrupt


FIRM NEWS   Jan 22, 2019

Seyfarth Promotes 24 as Partners
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Recognitions

RECOGNITION   Nov 18, 2011

Ryan Pinkston Receives Volunteer Award from the American Cancer
Society

Select Recognition

    Listed in Illinois Super Lawyers “Rising Stars” for Bankruptcy (Thomson Reuters)
    (2013-2018)



Leadership & Professional Affiliations

    Chicago Bar Association



Publications

    Author, "Are You Stuck in Bankruptcy Court if Stay Relief is Denied?," Legal Update,
    Seyfarth Shaw LLP (November 14, 2019)

    Co-Author, "'U Can’t Touch This': When A Garnished Employee Goes Bankrupt,"
    California Peculiarities Employment Law Blog, Seyfarth Shaw LLP (May 8, 2019)

    Co-Author, "Vindication! Fifth Circuit Reverses Notorious District Court Health Care
    Fraud Decision," American Bar Association (Fall 2018)

    Co-Author, "Game Over? Ninth Circuit Doubles Down on Its Commitment to
    Enforcing Anti-Assignment Provisions In ERISA Plans To Bar Suits By Healthcare
    Providers For ERISA Benefits," American Bar Association (Fall 2018)

    "Seventh Circuit’s Latest On Stern May Constitute Dicta," Management Alert,
    Lexology & Bankruptcy Law Review (August 28, 2013)

    "Successful Collateral Valuation Perhaps Key to Plan Objections,"One Minute
    Memo, Seyfarth Shaw LLP (May 7, 2013)
Case 18-09130    Doc 907-1   Filed 11/24/20 Entered 11/24/20 11:11:41 Desc Exhibit
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    Co-Author, "The 'Unfinished Business' of Failed Law Firms," Law Journal
    Newsletters: The Bankruptcy Strategist and Law Firm Partnership & Benefits Report
    (November 2012)

    Co-Author, "Seyfarth Wins Precedent-Setting Dismissal of Thelen Trustee’s
    Unfinished Business Claims," One Minute Memo, Seyfarth Shaw LLP(September
    10, 2012)

    Co-Author, "Second Circuit’s Opinion May Insulate Payments Previously Beyond
    Bounds Of Bankruptcy Code Section 546(e)," One Minute Memo, Seyfarth Shaw
    LLP (September 7, 2011)

    Co-Author, "Identifying Corporate and Personal Liability: Issues for D&Os in the
    Zone of Insolvency," Business Law & Governance (June 2011)

    Co-Author, "The Implied Warranty of Habitability in Illinois: A Critical Review,"
    98Illinois Bar Journal 92 (February 2010)



Presentations

    "The 'Unfinished Business' of Failed Law Firms: Pending Client Matters and
    Potential Fraudulent Transfers," Chicago Bar Association Young Lawyers Section
    Bankruptcy Committee Meeting (October 2, 2012)

    Co-Presenter, "Practice Pointers in Preference Litigation," Chicago Bar Association
    (April 5, 2011)



Civic & Charitable

    American Cancer Society of Illinois, Associate Board of Ambassadors



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Paul counsels and represents clients in their business litigation,
commercial contracts, product liability, and biometric privacy
matters.




More About Paul
Clients need solutions to problems before they become bigger concerns. By keeping up
to date with the ever changing landscape of biometric and information privacy laws in the
US, Paul counsels clients and offers cost-effective solutions for them to maintain
compliance.


Paul's practice includes a variety of complex commercial litigation disputes, including
those involving, contract disputes, creditor rights, fraudulent transfer litigation, business
torts, product liability, and class actions. He is also a member of the Seyfarth’s Workplace
Privacy & Biometrics team.


Paul brings a team-first attitude, having been a college and minor-professional athlete.
He serves each client with a competitive edge, combined with the skill and knowledge he
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has developed from his past experience. Before joining Seyfarth, Paul worked as a law
clerk for a boutique title insurance defense firm. He also worked as a summer fellow at
Seyfarth in 2016. While in law school, Paul spent a semester as an extern with the legal
unit at the Equal Employment Opportunity Commission Chicago office, investigating case
files, drafting litigation requests and subpoena enforcement. He was also a 711-licensed
student attorney, and represented pro se litigants in EEOC mediations and federal court
settlements through the Northern District of Illinois' Settlement Assistance Program.
Throughout his practice, Paul has provided advice and published articles relating to
biometric privacy laws, including the highly-litigious Illinois Biometric Information Privacy
Act.


Paul explores the costs and benefits of each phase of litigation. Taking both of these
aspects into consideration, he seeks cost-saving measures, while also committing to the
clients' best interests.


Paul is proud to work with Seyfarth's talented and experienced attorneys in the
bankruptcy, products liability, and consumer financial services litigation practice groups.
In his words: "Their attention to detail and commitment to excellence gives me the
knowledge and confidence to help my clients succeed."




Education

       JD, Loyola University Chicago School of Law
       Dean's list
       Advocacy certificate
       American Bar Association Negotiation Competition
       CALI Excellence for the Future Award for appellate advocacy
       Labor & Employment Law Society president
       US Equal Employment Opportunity Commission legal unit student externship
       Obtained a 711 license for the Northern District of Illinois' Settlement Assistance
       program

       BS, Loyola University Chicago



Admissions
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    Illinois



Courts

    US Court of Appeals, Seventh Circuit

    US District Court, Northern District of Illinois




Related Services
Commercial Litigation

Commercial Class Actions

Class & Collective Actions

Workplace Privacy & Biometrics

False Advertising, Product Labeling & Warnings

Product Liability & Complex Tort




Related Key Industries
Consumer Financial Services Litigation




Related News & Insights

LEGAL UPDATE    Jul 7, 2020

As A Matter Of First Impression, The Seventh Circuit Holds That
Chapter 13 Debtors Cannot Obtain In Forma Pauperis Filing Fee
Waivers Absent “Extraordinary Circumstances”
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BLOG POST   Oct 1, 2018

Webinar Recap! Protecting Trade Secrets Abroad and Enforcing
Rights Abroad and in the U.S.


BLOG POST   Sep 28, 2018

BIPA: Exemptions May Be On The Horizon For The Decade-Old
Statute


SEYFARTH EVENT    Sep 24, 2018

Protecting Trade Secrets Abroad and Enforcing Rights Abroad and in
the U.S.


Leadership & Professional Affiliations

    American Bar Association

    Federal Bar Association



Publications

    Co-Author, "As A Matter Of First Impression, The Seventh Circuit Holds That
    Chapter 13 Debtors Cannot Obtain In Forma Pauperis Filing Fee Waivers Absent
    'Extraordinary Circumstances'," Legal Update, Seyfarth Shaw LLP (July 7, 2020)



Presentations

    "Protecting Trade Secrets Abroad and Enforcing Rights Abroad and in the
    U.S.," Webinar, presented by Seyfarth Shaw LLP (September 24, 2018)



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More About Jasmine
Jasmine’s practice consists of complex commercial litigation disputes, including those
involving business torts, trade secrets, non-compete agreements, unfair competition,
products liability, and alleged violations of state and federal consumer protection statutes.
She loves the ever-changing challenges that come with litigation, and counseling her
clients in anticipation of litigation.




Education

     JD, Loyola University Chicago School of Law
     Loyola University Chicago Law Journal, Conference Management, executive editor
     Thomas Tang Moot Court, Regional and National Champion (2017)
     Loyola Federal Bar Association, president

     BA, University of California Santa Barbara
     Political Science; French minor
     Model United Nations delegate
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Admissions

    Illinois



Courts

    US District Court, Northern District of Illinois




Related Services
Commercial Litigation




Related News & Insights

LEGAL UPDATE      May 8, 2020

Potential Liability for Businesses Under the Public Nuisance Doctrine


LEGAL UPDATE      Mar 25, 2020

Communicating in the Time of Pandemic: FCC Clarifies that Certain
COVID-19 Related Calls Are Exempt from TCPA Liability


LEGAL UPDATE      Nov 21, 2019

Ninth Circuit Rules That Users, Not Consumers, Must Prove an
Authorized Purpose for Obtaining a Consumer Report


BLOG POST      Nov 20, 2019

Ninth Circuit Rules That Users, Not Consumers, Must Prove an
Authorized Purpose for Obtaining a Consumer Report
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Leadership & Professional Affiliations

    Federal Bar Association of Chicago



Publications

    Co-Author, "Potential Liability for Businesses Under the Public Nuisance Doctrine,"
    Legal Update, Seyfarth Shaw LLP (May 11, 2020)

    Co-Author, "Tips for Handling Non-Compete Agreements During Times of High
    Unemployment," American Bar Association, Practice Points (April 30, 2020)

    Co-Author, "Communicating in the Time of Pandemic: FCC Clarifies that Certain
    COVID-19 Related Calls Are Exempt from TCPA Liability," Legal Update, Seyfarth
    Shaw LLP (March 25, 2020)

    Co-Author, "Ninth Circuit Rules That Users, Not Consumers, Must Prove an
    Authorized Purpose for Obtaining a Consumer Report," Legal Update, Seyfarth
    Shaw LLP (November 21, 2019); Consumer Class Defense Blog, Seyfarth Shaw
    LLP (November 20, 2019)

    Co-Author, "California Appellate Court Rules Publication of Trade Secrets, Even
    Without Owner Consent, Eviscerates Protection," Trading Secrets Blog, Seyfarth
    Shaw LLP (October 29, 2019)



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